Case 7:18-cr-00864 Document 1 Filed in TXSD on 04/27/18 Page 1 of 3

AO 91 (Rev. ll/ll) Criminal Cornplaint

Unlwe:l Sirateei§ism
hem Disirict 1ang

UNITED` STATES DlsrRlCT CoURr§“:§§@“~'“»:4
for the l o ,J

S\~z

313

w

 

 

United States of America ) E&W€;§ “B” BM§QVP @H@WK
“ ) ~ 7 /M
) CaseNo. M“ /g 0 O/’
VargaS~Marroquin,Santiago(l978); )
Castillo-Diaz,AndreS(1994); Cerda~JaSso, )
Serqio(1964); Marin-Garcia,lsmael(1991) §
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belie:l`.

 

 

On or about the date(S) of 4 / 27 /2 0 1 8 in the county of Starr ill Th€
Southern District of T€XHS , the defendant(s) violated:

Code Section Ojj“ense Descrz'ption
21 USC 846 Conspiracy to Possess with the Intent to
21 USC 841 Distribute and Possession with Intent to

Dlstribute Marljuana, approximately
105.500 kilograms, a Schedule l
controlled Substance.

This criminal complaint is based on these facts:

(See Attachment l).

§§ Continued on the attached sheet.

/M»J;>A_....._....

Complainant's signature
Matthew Dolenqowski, DEA Special Aqent

 

Printed name and title

` W°‘JZ //// ;’~L, (1.€4‘.~¢@(¢£ `
SW/cjli{io before rri:z§lnd Slgned in my presence /H W
Date: 4/27/2018 §§ §§ am l 2

Judge 's signature

 

 

 

CKyandSHH& McAllen, TeXas Peter Ormsby, US Maqistrate Judqe
' y Prz'nled name and title

Case 7:18-cr-00864 Document 1 Filed in TXSD on 04/27/18 Page 2 of 3

ATTACHMENT 1

On April 27, 2018, at approximately 1:00 a.m., U.S. Border Patrol (USBP) agents utilizing a
video recording system observed six subjects carrying four bundles of suspected narcotics near
FM 3167 and Expressway 83 in Rio Grande City, Texas. USBP agents responded to the area and
observed six subjects carrying four bundles walking through an open tield. As USBP agents
attempted to approach the six subjects, agents observed the subjects drop the bundles of suspected
narcotics and run south towards the Rio Grande River. USBP agents maintained visual of the
subjects and were able to apprehend four of the individuals - Sergio CERDA-JASSO (hereafter,
CERDA); Ismael MARIN~GARCIA (hereafter, MARIN); Santiago VARGAS-MARROQUIN
(hereafter, VARGAS); and Andres CASTILLO-DIAZ (hereafter, CASTILLO), approximately 75
yards from where the bundles were dropped Agents also seized four (4) bundles of marijuana
wrapped in brown cellophane tape.

At the Rio Grande City USBP Station, agents processed the marijuana, which weighed
approximately 105.500 kilograms (232.588 pounds). Agents also conducted a field test, which
tested positive for characteristics of marijuana

DEA Special Agents and USBP Agents conducted an interview with VARGAS. VARGAS read
his own Miranda Warnings in Spanish, stated that he waived his rights, and agreed to be
interviewed by agents without having an attorney present. VARGAS stated that he crossed the
Rio Grande River on a raft with seven individuals and four bundles of marijuana at approximately
9:0() p.m. or 10:00 p.m. on April 26, 2018. VARGAS stated that he agreed to carry the marijuana
in exchange for paying a crossing fee to enter the United States. VARGAS stated that he
observed CERDA; MARIN, and CASTILLO all carry bundles.

DEA Special Agents and USBP Agents conducted an interview with CASTILLO. CASTILLO
was read his Miranda Warnings in Spanish. CASTILLO stated that he waived his rights and
agreed to be interviewed by agents, without having an attorney present CASTILLO stated that he
crossed the Rio Grande River on a raft with seven individuals and four bundles of marijuana at
approximately ll:()O p.m. on April 26, 2018. CASTILLO stated that he Was transporting the
marijuana to avoid paying a crossing fee into the United States. CASTILLO stated that he was to
be paid $100 to cross the marijuana in addition to his crossing fee being waived. CASTILLO
stated that he crossed with CERDA, MARIN, and VARGAS. CASTILLO further stated that
MARIN was the guide for the group transporting the bundles of marijuana CASTILLO stated
that he observed VARGAS and CERDA carry bundles.

DEA Special Agents and USBP Agents conducted an interview with CERDA. CERDA was read
his Miranda Warnings in Spanish. CERDA stated that he waived his rights and agreed to be
interviewed by agents. CERDA stated that he crossed the Rio Grande River on a raft with ten or
twelve individuals at approximately 9:00 p.m. or 10:00 p.m. on April 26, 2018. CERDA stated
that some of the individuals went back across the river to retrieve three or four bundles. CERDA
stated that he carried a bundle that he believed was marijuana CERDA stated that he observed
CASTILLO carrying a bundle of marijuana

DEA Special Agents and USBP Agents conducted an interview with MARIN. MARIN was read
his Miranda Warnings in Spanish. MARIN stated that he waived his rights and agreed to be
interviewed by agents. MARIN stated that he crossed the Rio Grande River on a raft with seven
individuals and four bundles at approximately 6:OO p.m. on Apri126, 2018. MARH\I stated that

Case 7:18-cr-00864 Document 1 Filed in TXSD on 04/27/18 Page 3 of 3

he did not personally carry any bundles, but was working as a lookout for the group. MARTN
stated that he observed VARGAS, CASTILLO, and CERDA all carry bundles.

